Case 2:19-cv-02423-JPM-atc Document 100 Filed 06/21/22 Page 1 of 2                    PageID 859

                                                                                         6.21.2022
                                                                                          3:09 PM
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


VICTOR BODDIE,                                   )
                                                 )
     Plaintiff,                                  )
                                                 )       Case No. 2:19-cv-02423-JPM-atc
v.                                               )
                                                 )
THE CHEMOURS COMPANY, a/k/a THE                  )
CHEMOURS COMPANY FC, LLC,                        )
                                                 )
     Defendant.


                                     VERDICT FORM NO. 2


We, the jury, unanimously answer the questions submitted by the Court as follows:

                         Punitive Damages – 42 U.S.C. § 1981 and Title VII

        1.        The Plaintiff having proven that he may be awarded punitive damages against the

Defendant for discriminating against him in violation of 42 U.S.C. § 1981 and Title VII, we the

jury return the following verdict in the amount of $__________________________. (Plaintiff

has the burden of proof.) (The amount, if any, is up to you, the jury. You are not required to

return any amount.)
Case 2:19-cv-02423-JPM-atc Document 100 Filed 06/21/22 Page 2 of 2                  PageID 860




                                Liquidated Damages – ADEA

       2.     We the jury find that the Plaintiff has proven by a preponderance of the evidence

that he may be awarded liquidated damages against the Defendant for discriminating against him

in violation of the ADEA, in the amount of $________________________. (Plaintiff has the

burden of proof.) (If you choose to award liquidated damages under the ADEA, this amount

cannot exceed twice the damages already awarded under that statute. You are not required to

return any amount.)



Please sign the jury verdict form and return it to the Court.




SO SAY WE ALL.



                                                   JURY FOREPERSON

                                                   Dated:




                                               2
